Case 23-10763-amc           Doc 705    Filed 07/19/24 Entered 07/19/24 15:30:36            Desc Main
                                      Document      Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
   STREAM TV NETWORKS, INC., and                 :
   TECHNOVATIVE MEDIA, INC.                      :
                                                 :
                     Debtors-in-Possession       :       C.A. No. 2:24-cv-02727-JMG
                                                 :
           v.                                    :
                                                 :
   REMBRANDT 3D HOLDING LTD.                     :
                                                 :
                     Creditor                    :
                                                 :
           AND                                   :
                                                 :
   WILLIAM A. HOMONY                             :
                                                 :
                     Trustee.                    :
                                                 :


                     APPELLEE’S DESIGNATION OF ADDITIONAL ITEMS
                       TO BE INCLUDED IN THE RECORD ON APPEAL

         Pursuant to Federal Rule of Bankruptcy Procedure 8009, William A. Homony (the

 “Trustee”), in his capacity as Chapter 11 trustee of the bankruptcy estates of Stream TV Networks,

 Inc. (“Stream”) and Technovative Media, Inc. (“Technovative”) (when referred to with Stream,

 the “Debtors”), appellee in the appeal noticed by Rembrandt 3D Holding Ltd. (“Rembrandt” or

 the “Appellant”), on June 20, 2024 (the “Appeal”), files this Designation of Additional Items to

 be Included in the Record on Appeal (the “Designation”) in the above-captioned case and requests

 that the Clerk prepare and forward the items listed herein to the District Court for inclusion in the

 record in connection with the Appeal.




                                                     1
 4867-3352-1104 v1
Case 23-10763-amc               Doc 705       Filed 07/19/24 Entered 07/19/24 15:30:36              Desc Main
                                             Document      Page 2 of 3



                                                   DESIGNATION

            1.         On June 6, 2024, the Court entered the Order Granting a Motion to Approve

 Compromise under Rule 9019 [D.I. 653]. On June 20, 2024, the Appellant filed a Notice of Appeal

 to the District Court [D.I. 685]. On July 5, 2024, the Appellant filed the Appellant’s Statement of

 Issues and Designation of Items to be Included in the Record on Appeal [Appeal D.I. 2].

            2.         The Trustee respectfully designates the following additional items to be included

 in the appellate record pursuant to Bankruptcy Rule 8009:1


     Bankruptcy Docket            Date Entered in the               Brief Description of the Document or
         Number                   Bankruptcy Docket                               Transcript
           548                         1/5/2024                        Memorandum Opinion Regarding
                                                                      Appointment of Chapter 11 Trustee
                 549                     1/5/2024                Order Granting Motion to Appoint Chapter 11
                                                                                   Trustee
                 554                     1/9/2024                    Notice of Appointment of William A.
                                                                    Homony, CIRA as Chapter 11 Trustee
                 670                    6/17/2024                    Transcript regarding hearing held on
                                                                                  6/05/2024


                                          RESERVATION OF RIGHTS
            The Trustee expressly reserves his right to amend or supplement this Designation and/or

 to object, or otherwise supplement or move to strike or modify, some or all of any designation

 filed by any other party to this appeal. This filing is made expressly subject to and without waiver

 of any and all rights, remedies, challenges, and objections.



                                                          Respectfully submitted,


                                                          /s/ Michael D. Vagnoni
                                                          Edmond M. George, Esquire
                                                          Michael D. Vagnoni, Esquire

 1
     Unless otherwise indicated, all designated items include attached exhibits and declarations.

                                                             2
 4867-3352-1104 v1
Case 23-10763-amc       Doc 705    Filed 07/19/24 Entered 07/19/24 15:30:36     Desc Main
                                  Document      Page 3 of 3



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                                          Special Counsel to William Homony, Chapter 11
                                          Trustee


 Dated: July 19, 2024




                                             3
 4867-3352-1104 v1
